Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 1 of 36




                     EXHIBIT B
Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 2 of 36




                  EXHIBIT B-1
 Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 3 of 36
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                                                                                 Reviewed By: Alexis Bonilla


                           CAUSE NOC-0978-17-G

MIGUEL RODRIGUEZ                                §             IN THE DISTRICT COURT
Plaintiff                                       §
                                                §
VS.                                             §                        JUDICIAL DISTRICT
                                                §
AMERICAN SECURITY                               §
INSURANCE COMPANY                               §
Defendant                                       §             HIDALGO COUNTY, TEXAS

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, MIGUEL RODRIGUEZ, complaining of AMERICAN SECURITY

INSURANCE COMPANY, and for cause of action would show:

                                          I. DISCOVERY

       1. This is a level III discovery case as defined by the Texas Rules of Civil Procedure.

                                           II. PARTIES

       2. Plaintiff is a resident of Hidalgo County, Texas.

       3. Defendant American Security Insurance Company is a Delaware Corporation engaging

in the business of insurance in the State of Texas. The defendant may be served with process by

serving its registered agent for the State of Texas: Corporation Service Company, 211 East 7tb

Street, Suite 620, Austin, Texas 78701.

                               III. JURISDICTION & VENUE

       4. The subject matter in controversy is within the jurisdictional limits of this court. The

court has jurisdiction over Defendant American Security (hereinafter "American Security")

because it is engaging in the business of insurance in the State of Texas. Venue is proper in this

county because the insured property is situated in Hidalgo County, Texas. Tex. Civ. Prac. &

Rem. Code § 15.032.
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 4 of 36
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                                               IV. FACTS

       5. Plaintiff is the owner of the Texas Homeowner's Insurance Policy (hereinafter referred

to as "the Policy"), which was issued by American Security.

       6. Plaintiff owns the insured property, located at 1019 Violet Drive, Pharr, Texas 78577

(hereinafter referred to as "the Property").

       7. American Security sold the Policy insuring the property to Plaintif£

       8. On or about June 1, 2015, Plaintiff sustained extensive physical damage to the insured

Property. During the late afternoon and evening hours of June 1, 2015, a strong supercell

thunderstorm moved through the Pharr, Texas area producing heavy rains, and damaging wind

and hail.

       9. Plaintiff submitted claims to the Defendant against the policy for damages to the

Property as a result of the June 1, 2015 storm. Plaintiff requested that the Defendant cover the

costs of these repairs pursuant to the policy they entered into with the Defendant.

       10. The Plaintiff reported the damage to the covered Property to the Defendant American

Security. The Defendant wrongfully denied Plaintiffls claim for full repairs to the Property, even

though the Policy they have with the Defendant provided coverage for losses such as the losses

suffered by the Plaintiff. Additionally, the Defendant under-scoped damages during its

inspections, investigations, and payment and made representation that the policy the Plaintiff has

with Defendant specifically excluded some repairs.

        11. As of the date of this filing, the Defendant continues to delay in the payment for the

damages to the property. As a result, Plaintiff has not been paid the full value of the damages

suffered to his home.

        12. Defendant American Security failed to perform its contractual duties to adequately
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 5 of 36
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                                                                                    Hidalgo County District Clerks
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compensate Plaintiff under the terms of the policy. In spite of a demand for proceeds to be paid

out in an amount sufficient to cover the damaged property, Defendant American Security has

categorically refused to pay the full proceeds available under the policy. Additionally, all

conditions precedent to recovery upon the Policy have been carried out by the Plaintiff.

Defendant American Security's conduct constitutes a breach of the insurance contract between

Plaintiff and Defendant.

       13. Defendant American Security has misrepresented to Plaintiff there was no damage to

areas of the home that was damaged, and that all damage covered under the Policy has been

accounted for, even though it has not been paid in full. Defendant American Security's conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code

§ 541.060(a)(1).

       14. Defendant American Security's failed to make an attempt to settle Plaintiffls claim in

a fair manner, although it was aware of its liability to Plaintiff under the Policy. Defendant

American Security's conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. Tex. Ins. Code §541.060(a)(2)(A).

       15. Defendant American Security's failed to adequately explain to Plaintiff the reasons

for its offer of an inadequate settlement. Specifically, Defendant American Security failed to

offer Plaintiff adequate compensation, and misrepresented its explanation for why full payment

was not being made. Furthermore, Defendant American Security did not communicate that any

future settlements or payments would be forthcoming to pay for the entire losses covered under

the Policy, nor did it provide any explanation for the failure to adequately settle Plaintiff s claim.

Defendant American Security's conduct is a violation of the Texas Insurance Code, Unfair

Settlement Practices. Tex. Ins. Code §541.060(a)(3).
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 6 of 36
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       16. Defendant American Security's refused to fully compensate Plaintiff, under the terms

of the Policy, even though Defendant American Security failed to conduct a reasonable

investigation. Specifically, Defendant American Security performed an outcome-oriented

investigation of Plaintiff's claim, which resulted in a biased, unfair, and inequitable evaluation of

Plaintiff's losses on the Property. Defendant American Security's conduct constitutes a violation

of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a)(7).

       17. Defendant American Security failed to accept or deny Plaintiffls full and entire claim

within the statutorily mandated time of receiving all necessary information. Defendant

American Security's conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. Tex Ins. Code §542.056.

       18. Defendant American Security failed to meet its obligations under the Texas Insurance

Code regarding payment of claim without delay. Specifically, it has delayed full payment of

Plaintiff's claim longer than allowed and, to date, Plaintiff has not received ffizll payment for his

claim. Defendant American Security's conduct constitutes a violation of the Texas Insurance

Code, Prompt Payment of Claims. Tex. Ins. Code §542.058.

       19. Since the date Plaintiff presented his claim to Defendant American Security, the

liability of Defendant American Security to pay the full claim in accordance with the terms of the

Policy was reasonably clear. However, Defendant American Security has refused to pay

Plaintiff in full, despite there being no basis whatsoever on which a reasonable insurance

company would have relied to deny the full payment. Defendant American Security's conduct

constitutes a breach of the common law duty of good faith and fair dealing.

       20. Defendant Amerrican Security knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or some material
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 7 of 36
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                                                                                Reviewed By: Alexis Bonilla
                                          C-0978-17-G

information from Plaintiff.

       21. As a result of Defendant American Security's wrongful acts and omissions, Plaintiff

was forced to retain the professional services of the attorney and law fum who are representing

him with respect to these causes of action.

                                    V. CAUSES OF ACTION

                   Causes of Action Against Defendant American Securitv

       22. Defendant American Security is liable to Plaintiff for intentional breach of contract,

as well as intentional violations of the Texas Insurance Code and intentional breach of the

common law duty of good faith and fair dealing.

                                       Breach of Contract

       23. Defendant American Security's conduct constitutes a breach of the insurance contract

made between Defendant American Security and Plaintiff.

       24. Defendant American Security's failure and/or refusal, as described above, to pay

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of Defendant American Security's

insurance contract with Plaintif£

          Noncompliance with Texas Insurance Code: Unfair Settlement Practices

       25. Defendant American Security's conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a). All violations under

this article are made actionable by Tex. Ins. Code §5411.151.

       26. Defendant Farmer's unfair settlement practice, as described above, of misrepresenting

to Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. Tex. Ins.
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 8 of 36
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Code § 541.060(a)(1).

       27. Defendant American Security's unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though Defendant American Security's liability under the Policy was reasonably clear,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. Tex. Ins. Code §541.060(a)(2)(A).

       28. Defendant American Security's unfair settlement practice, as described above, of

failing to promptly provide Plaintiff with a reasonable explanation of the basis in the Policy, in

relation to the facts or applicable law, for its offer of a compromise settlement of the claim,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. Tex. Ins. Code §541.060(a)(3).

        Noncompliance with Texas Insurance Code: The Prompt Payment of Claims

       29. Defendant American Security's conduct constitutes multiple violations of the Texas

Tnsurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by Tex. Ins. Code §542.060.

       30. Defendant American Security's delay of the payment of Plaintiff's claim following its

receipt of all items, statements, and forms reasonably requested and required, longer than the

amount of time provided for, as described above, constitutes a non-prompt payment of the claim.

Tex. Ins. Code §542.058.

                      Breach of the Duty of Good Faith and Fair Dealing

       31. Defendant American Security's conduct constitutes a breach of the common law duty

of good faith and fair dealing owed to insured in insurance contracts.

       32. Defendant American Security's failure, as described above, to adequately and
  Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 9 of 36
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                                                                                     Hidalgo County District Clerks
                                                                                     Reviewed By: Alexis Bonilla
                                          C-097$-17-G

reasonably investigate and evaluate Plaintiffls claim, although, at that time, Defendant American

Security knew or should have known by the exercise of reasonable diligence that its liability was

reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

                                               Fraud

       33. Defendant American Security is liable to Plaintiff for common law fraud.

       34. Each and every one of the representations, as described above, concemed material

facts for the reason that absent such representations, Plaintiff would not have acted as they did,

and which Defendant American Security knew were false or made recklessly without any

knowledge of their truth as a positive assertion.

       35. The statements were made with the intention that they should be acted upon by

Plaintiff, who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

injury and constituting common law fraud.

                                            Knowlefte

       36. Each of the acts described above, together and singularly, was done "knowingly," as

that term is used in the Texas Insurance Code, and was a producing cause of Plaintiff's damages

described herein.

                                         VI. DAMAGES

       37. Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

       38. As previously mentioned, the damages caused by this storm have not been properly

addressed or repaired in the months and now years since the storm, causing further damages to

the Property, and causing undue hardship and burden to Plaintiff. These damages are a direct

result of Defendant American Security's mishandling of Plaintiff's claim in violation of the laws
 Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 10 of 36
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set forth above.

       39. For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which

is the amount of his claim, together with attorney's fees.

       40. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include the loss of the benefits that should have

been paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

conduct of the acts described above, Plaintiff asks for three times his actual damages. Tex. Ins.

Code §541.152.

       41. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff

is entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

       42. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled

to compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages, and damages for emotional distress.

       43. For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

knowingly fi-audulent and malicious representations, along with attorney's fees, interest, and

court costs.

       44. For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading. Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiffls

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.
 Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 11 of 36
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                                                                                   Hidalgo County District Clerks
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                                          C-0978-17-G

       45. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include his past and future medical expenses, that

should have been paid pursuant to the policy, mental anguish, pain and suffering, court costs, and

attorney's fees. For knowing conduct of the acts described above, Plaintiff asks for three times

his actual damages. Tex. Ins. Code §541.152.

       46. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff

is entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

       47. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled

to compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages, and damages for emotional distress.

       48. In accordance with Rule 47, as amended, and with the information currently

available, Plaintiff seeks monetary relief of no more than $75,000.00.

                                 VII. WRITTEN DISCOVERY

                                    Requests for Disclosure

       49. Under Texas Rule of Civil Procedure 194, plaintiff requests that defendants disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2.

           Plaintiff's 111 Requests for Production to Defendant American Security

       50. Please produce a copy of your entire claims file, including memos, emails, estimates,

records, a complete copy of the policy, letters, evaluations, etc. If you make claim of privilege

for any documents requested in this request for production, then pursuant to TRCP 193.3(b),
 Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 12 of 36
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                                                                                 Reviewed By: Alexis Bonilla
                                           C-097$-17-G

consider this Plaintiff s request that you identify the information and material withheld and the

specific privilege asserted by producing a privilege log of each document withheld.

       51. Please produce all non-privileged emails and other forms of communication between

American Security, its agents, adjusters, employees, or representatives and the adjuster, and/or

their agents, adjusters, representatives or employees relating to, mentioning, concerning or

evidencing the Plaintiff's property which is the subject of this suit.

       52. Produce any complete file (excluding all privileged portions) in American Security's

possession for the Plaintiff/insured and/or for the Plaintiff's property as listed in Plaintiff's

Original Petition, relating to or arising out of any claim for damages which American Security

opened a claim under any policy. Please produce a privilege log for any portions withheld on a

claim of privilege.

       53. Produce the complete claim or adjusting file for Plaintiff s property. Please produce a

privilege log for any portions withheld on a claim of privilege.

       54. Produce all emails and other forms of communication between American Security

and and/or their agents, adjusters, representatives or employees relating to, mentioning,

concerning or evidencing the Plaintiff's property which is the subject of this suit. This includes

any correspondence or communications related to the Plaintiffs property, whether related to this

claim or any other claim in American Security's possession. Please produce a privilege log for

any items withheld on a claim of privilege.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff has and recover such sums as would reasonably and justly compensate him in

accordance with the rules of law and procedure, as to actual damages, treble damages under the
 Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 13 of 36
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                                           C-097$-17-G

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiff requests the award of attomey's fees for the trial and any appeal of this case, for all costs

of Court on his behalf expended, for prejudgment and post judgment interest as allowed by law,

and for any other and further relief, either at law or in equity, to which he will show himself

justly entitled.

                                                       Respectfully submitted,

                                                       LAWRENCE LAW FIRM
                                                       3112 Windsor Rd., Suite A234
                                                       Austin, Texas 78703
                                                       (956) 994-0057
                                                       (800) 507-4152 FAX



                                                       BY•

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                                                       Mr. Dan Carlwright
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                                                       Ms. Lory Sopchak
                                                       State Bar No. 24076706
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                                                       ATTORNEYS FOR PLAINTIFF
Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 14 of 36
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                                                            Hidalgo County District Clerks
                                                            Reviewed By: Alexis Bonilla
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Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 15 of 36




                   EXHIBIT B-2
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                                   CAUSE NO. C-0978-17-G

MIGUEL RODRIGUEZ                                 §             IN THE DISTRICT COURT
Plaintiff                                        §
                                                 §
VS.                                              §             370th JUDICIAL DISTRICT
                                                 §
STANDARD GUARANTY                                §
INSURANCE COMPANY                                §
Defendant                                        §             HIDALGO COUNTY, TEXAS

                        PLAINTIFF’S FIRST AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, MIGUEL RODRIGUEZ, complaining of STANDARD GUARANTY

INSURANCE COMPANY, and for cause of action would show:

                                         I. DISCOVERY

        1. This is a level III discovery case as defined by the Texas Rules of Civil Procedure.

                                          II. PARTIES

        2. Plaintiff is a resident of Hidalgo County, Texas.

        3. Defendant Standard Guaranty Insurance Company is a Delaware Corporation engaging

in the business of insurance in the State of Texas. The defendant may be served with process by

serving Pooneh A. Momeni, Edison, McDowell & Hetherington LLP, 1001 Fannin Street, Suite

2700, Houston, Texas 77002.

                                III. JURISDICTION & VENUE

        4. The subject matter in controversy is within the jurisdictional limits of this court. The

court has jurisdiction over Defendant Standard Guaranty Insurance Company (hereinafter

“Standard Guaranty”) because it is engaging in the business of insurance in the State of Texas.

Venue is proper in this county because the insured property is situated in Hidalgo County, Texas.

Tex. Civ. Prac. & Rem. Code § 15.032.
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 17 of 3:11:44
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                                                                                      Reviewed By: Kim Hinojosa


                                               IV. FACTS

       5. Plaintiff is the owner of the Texas Homeowner’s Insurance Policy (hereinafter referred

to as “the Policy”), which was issued by Standard Guaranty.

       6. Plaintiff owns the insured property, located at 1019 Violet Drive, Pharr, Texas 78577

(hereinafter referred to as “the Property”).

       7. Standard Guaranty sold the Policy insuring the property to Plaintiff.

       8. On or about June 1, 2015, Plaintiff sustained extensive physical damage to the insured

Property. During the late afternoon and evening hours of June 1, 2015, a strong supercell

thunderstorm moved through the Pharr, Texas area producing heavy rains, and damaging wind

and hail.

       9. Plaintiff submitted claims to the Defendant against the policy for damages to the

Property as a result of the June 1, 2015 storm. Plaintiff requested that the Defendant cover the

costs of these repairs pursuant to the policy they entered into with the Defendant.

       10. The Plaintiff reported the damage to the covered Property to the Defendant Standard

Guaranty. The Defendant wrongfully denied Plaintiff’s claim for full repairs to the Property,

even though the Policy they have with the Defendant provided coverage for losses such as the

losses suffered by the Plaintiff. Additionally, the Defendant under-scoped damages during its

inspections, investigations, and payment and made representation that the policy the Plaintiff has

with Defendant specifically excluded some repairs.

       11. As of the date of this filing, the Defendant continues to delay in the payment for the

damages to the property. As a result, Plaintiff has not been paid the full value of the damages

suffered to his home.

       12. Defendant Standard Guaranty failed to perform its contractual duties to adequately
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 18 of 3:11:44
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compensate Plaintiff under the terms of the policy. In spite of a demand for proceeds to be paid

out in an amount sufficient to cover the damaged property, Defendant Standard Guaranty has

categorically refused to pay the full proceeds available under the policy. Additionally, all

conditions precedent to recovery upon the Policy have been carried out by the Plaintiff.

Defendant Standard Guaranty’s conduct constitutes a breach of the insurance contract between

Plaintiff and Defendant.

       13. Defendant Standard Guaranty has misrepresented to Plaintiff there was no damage to

areas of the home that was damaged, and that all damage covered under the Policy has been

accounted for, even though it has not been paid in full. Defendant Standard Guaranty’s conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code

§541.060(a)(1).

       14. Defendant Standard Guaranty’s failed to make an attempt to settle Plaintiff’s claim in

a fair manner, although it was aware of its liability to Plaintiff under the Policy. Defendant

Standard Guaranty’s conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. Tex. Ins. Code §541.060(a)(2)(A).

       15. Defendant Standard Guaranty’s failed to adequately explain to Plaintiff the reasons

for its offer of an inadequate settlement. Specifically, Defendant Standard Guaranty failed to

offer Plaintiff adequate compensation, and misrepresented its explanation for why full payment

was not being made. Furthermore, Defendant Standard Guaranty did not communicate that any

future settlements or payments would be forthcoming to pay for the entire losses covered under

the Policy, nor did it provide any explanation for the failure to adequately settle Plaintiff’s claim.

Defendant Standard Guaranty’s conduct is a violation of the Texas Insurance Code, Unfair

Settlement Practices. Tex. Ins. Code §541.060(a)(3).
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 19 of 3:11:44
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       16. Defendant Standard Guaranty’s refused to fully compensate Plaintiff, under the terms

of the Policy, even though Defendant Standard Guaranty failed to conduct a reasonable

investigation. Specifically, Defendant Standard Guaranty performed an outcome-oriented

investigation of Plaintiff’s claim, which resulted in a biased, unfair, and inequitable evaluation of

Plaintiff’s losses on the Property. Defendant Standard Guaranty’s conduct constitutes a violation

of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a)(7).

       17. Defendant Standard Guaranty failed to accept or deny Plaintiff’s full and entire claim

within the statutorily mandated time of receiving all necessary information. Defendant Standard

Guaranty’s conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of

Claims. Tex Ins. Code §542.056.

       18. Defendant Standard Guaranty failed to meet its obligations under the Texas Insurance

Code regarding payment of claim without delay. Specifically, it has delayed full payment of

Plaintiff’s claim longer than allowed and, to date, Plaintiff has not received full payment for his

claim. Defendant Standard Guaranty’s conduct constitutes a violation of the Texas Insurance

Code, Prompt Payment of Claims. Tex. Ins. Code §542.058.

       19. Since the date Plaintiff presented his claim to Defendant Standard Guaranty, the

liability of Defendant Standard Guaranty to pay the full claim in accordance with the terms of the

Policy was reasonably clear.      However, Defendant Standard Guaranty has refused to pay

Plaintiff in full, despite there being no basis whatsoever on which a reasonable insurance

company would have relied to deny the full payment. Defendant Standard Guaranty’s conduct

constitutes a breach of the common law duty of good faith and fair dealing.

       20. Defendant Standard Guaranty knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or some material
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 20 of 3:11:44
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information from Plaintiff.

       21. As a result of Defendant Standard Guaranty’s wrongful acts and omissions, Plaintiff

was forced to retain the professional services of the attorney and law firm who are representing

him with respect to these causes of action.

                                     V. CAUSES OF ACTION

                   Causes of Action Against Defendant Standard Guaranty

       22. Defendant Standard Guaranty is liable to Plaintiff for intentional breach of contract,

as well as intentional violations of the Texas Insurance Code and intentional breach of the

common law duty of good faith and fair dealing.

                                       Breach of Contract

       23. Defendant Standard Guaranty’s conduct constitutes a breach of the insurance contract

made between Defendant Standard Guaranty and Plaintiff.

       24. Defendant Standard Guaranty’s failure and/or refusal, as described above, to pay

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of Defendant Standard Guaranty’s

insurance contract with Plaintiff.

          Noncompliance with Texas Insurance Code: Unfair Settlement Practices

       25. Defendant Standard Guaranty’s conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a). All violations under

this article are made actionable by Tex. Ins. Code §5411.151.

       26. Defendant Farmer’s unfair settlement practice, as described above, of misrepresenting

to Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. Tex. Ins.
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 21 of 3:11:44
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Code §541.060(a)(1).

       27. Defendant Standard Guaranty’s unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though Defendant Standard Guaranty’s liability under the Policy was reasonably clear,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. Tex. Ins. Code §541.060(a)(2)(A).

       28. Defendant Standard Guaranty’s unfair settlement practice, as described above, of

failing to promptly provide Plaintiff with a reasonable explanation of the basis in the Policy, in

relation to the facts or applicable law, for its offer of a compromise settlement of the claim,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. Tex. Ins. Code §541.060(a)(3).

        Noncompliance with Texas Insurance Code: The Prompt Payment of Claims

       29. Defendant Standard Guaranty’s conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by Tex. Ins. Code §542.060.

       30. Defendant Standard Guaranty’s delay of the payment of Plaintiff’s claim following its

receipt of all items, statements, and forms reasonably requested and required, longer than the

amount of time provided for, as described above, constitutes a non-prompt payment of the claim.

Tex. Ins. Code §542.058.

                      Breach of the Duty of Good Faith and Fair Dealing

       31. Defendant Standard Guaranty’s conduct constitutes a breach of the common law duty

of good faith and fair dealing owed to insured in insurance contracts.

       32. Defendant Standard Guaranty’s failure, as described above, to adequately and
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 22 of 3:11:44
                                                                3/31/2017 36 PM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Kim Hinojosa


reasonably investigate and evaluate Plaintiff’s claim, although, at that time, Defendant Standard

Guaranty knew or should have known by the exercise of reasonable diligence that its liability

was reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

                                               Fraud

       33. Defendant Standard Guaranty is liable to Plaintiff for common law fraud.

       34. Each and every one of the representations, as described above, concerned material

facts for the reason that absent such representations, Plaintiff would not have acted as they did,

and which Defendant Standard Guaranty knew were false or made recklessly without any

knowledge of their truth as a positive assertion.

       35. The statements were made with the intention that they should be acted upon by

Plaintiff, who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer

injury and constituting common law fraud.

                                            Knowledge

       36. Each of the acts described above, together and singularly, was done “knowingly,” as

that term is used in the Texas Insurance Code, and was a producing cause of Plaintiff’s damages

described herein.

                                         VI. DAMAGES

       37. Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

       38. As previously mentioned, the damages caused by this storm have not been properly

addressed or repaired in the months and now years since the storm, causing further damages to

the Property, and causing undue hardship and burden to Plaintiff. These damages are a direct

result of Defendant Standard Guaranty’s mishandling of Plaintiff’s claim in violation of the laws
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 23 of 3:11:44
                                                                3/31/2017 36 PM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Kim Hinojosa


set forth above.

       39. For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which

is the amount of his claim, together with attorney's fees.

       40. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include the loss of the benefits that should have

been paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

conduct of the acts described above, Plaintiff asks for three times his actual damages. Tex. Ins.

Code §541.152.

       41. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff

is entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

       42. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled

to compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages, and damages for emotional distress.

       43. For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for

knowingly fraudulent and malicious representations, along with attorney's fees, interest, and

court costs.

       44. For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading. Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiff’s

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 24 of 3:11:44
                                                                3/31/2017 36 PM
                                                                                   Hidalgo County District Clerks
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       45. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiff is entitled to actual damages, which include his past and future medical expenses, that

should have been paid pursuant to the policy, mental anguish, pain and suffering, court costs, and

attorney's fees. For knowing conduct of the acts described above, Plaintiff asks for three times

his actual damages. Tex. Ins. Code §541.152.

       46. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff

is entitled to the amount of his claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

       47. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled

to compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages, and damages for emotional distress.

       48. In accordance with Rule 47, as amended, and with the information currently

available, Plaintiff seeks monetary relief of no more than $75,000.00.

                                 VII. WRITTEN DISCOVERY

                                    Requests for Disclosure

       49. Under Texas Rule of Civil Procedure 194, plaintiff requests that defendants disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2.

          Plaintiff’s 1st Requests for Production to Defendant Standard Guaranty

       50. Please produce a copy of your entire claims file, including memos, emails, estimates,

records, a complete copy of the policy, letters, evaluations, etc. If you make claim of privilege

for any documents requested in this request for production, then pursuant to TRCP 193.3(b),
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 25 of 3:11:44
                                                                3/31/2017 36 PM
                                                                                 Hidalgo County District Clerks
                                                                                 Reviewed By: Kim Hinojosa


consider this Plaintiff’s request that you identify the information and material withheld and the

specific privilege asserted by producing a privilege log of each document withheld.

       51. Please produce all non-privileged emails and other forms of communication between

Standard Guaranty, its agents, adjusters, employees, or representatives and the adjuster, and/or

their agents, adjusters, representatives or employees relating to, mentioning, concerning or

evidencing the Plaintiff’s property which is the subject of this suit.

       52. Produce any complete file (excluding all privileged portions) in Standard Guaranty’s

possession for the Plaintiff/insured and/or for the Plaintiff’s property as listed in Plaintiff’s

Original Petition, relating to or arising out of any claim for damages which Standard Guaranty

opened a claim under any policy. Please produce a privilege log for any portions withheld on a

claim of privilege.

       53. Produce the complete claim or adjusting file for Plaintiff’s property. Please produce a

privilege log for any portions withheld on a claim of privilege.

       54. Produce all emails and other forms of communication between Standard Guaranty

and and/or their agents, adjusters, representatives or employees relating to, mentioning,

concerning or evidencing the Plaintiff’s property which is the subject of this suit. This includes

any correspondence or communications related to the Plaintiff’s property, whether related to this

claim or any other claim in Standard Guaranty’s possession. Please produce a privilege log for

any items withheld on a claim of privilege.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said

Plaintiff has and recover such sums as would reasonably and justly compensate him in

accordance with the rules of law and procedure, as to actual damages, treble damages under the
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 26 of 3:11:44
                                                                3/31/2017 36 PM
                                                                                      Hidalgo County District Clerks
                                                                                      Reviewed By: Kim Hinojosa


Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all costs

of Court on his behalf expended, for prejudgment and post-judgment interest as allowed by law,

and for any other and further relief, either at law or in equity, to which he will show himself

justly entitled.

                                                        Respectfully submitted,

                                                        LAWRENCE LAW FIRM
                                                        3112 Windsor Rd., Suite A234
                                                        Austin, Texas 78703
                                                        (956) 994-0057
                                                        (800) 507-4152 FAX

                                                        By: /s/ Michael A. Lawrence

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                                                        Mr. Dan Cartwright
                                                        State Bar No. 03942500

                                                        Ms. Lory Sopchak
                                                        State Bar No. 24076706
                                                        Lory@dcartwrightlaw.net

                                                        ATTORNEYS FOR PLAINTIFF
Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 27 of 36




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      Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 28 of 9:10:48
                                                                  4/24/2017 36 AM
                                                                                    Hidalgo County District Clerks
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                                     CAUSE NO. C-0978-17-G

 MIGUEL RODRIGUEZ,                                  §                IN THE DISTRICT COURT
                                                    §
                        Plaintiff,                  §
                                                    §
 v.                                                 §              370TH JUDICIAL DISTRICT
                                                    §
 STANDARD GUARANTY INSURANCE                        §
 COMPANY                                            §
                                                    §
                         Defendant.                 §              HIDALGO COUNTY, TEXAS

                            DEFENDANT’S ORIGINAL ANSWER

        Defendant Standard Guaranty Insurance Company files this Original Answer and Request

for Disclosure against Plaintiff Miguel Rodriguez (“Plaintiff”) as follows:

                                             I.
                                       GENERAL DENIAL

        1.     Pursuant to Texas Rule of Civil Procedure 92, Defendant assert a general denial to

all claims and causes of action asserted by Plaintiff and demand strict proof thereof by a

preponderance of the evidence.

                                              II.
                                       VERIFIED DENIAL
        2.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff has no legal

capacity to sue and/or Plaintiff is not entitled to recovery in the capacity in which he sues.

                                           III.
                                  AFFIRMATIVE DEFENSES

        3.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(a)(1) of the

“Perils Insured Against” section of the policy excludes losses caused by freezing, thawing,

pressure or weight of water or ice, whether driven by wind or not, to a fence; pavement, patio or

swimming pool.

        4.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(a)(2) of the
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 29 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Juan Cavazos


“Perils Insured Against” section of the policy excludes losses caused by freezing, thawing,

pressure or weight of water or ice, whether driven by wind or not, to a foundation, retaining wall

or bulkhead.

        5.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(c) in the

“Perils Insured Against” section of the policy excludes losses caused by constant or repeated

seepage or leakage of water or steam over a period of weeks, months or years from within a

plumbing, heating, air conditioning, or automatic fire protective sprinkler system or from within a

household appliance.

        6.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(d)(1) of the

“Perils Insured Against” section of the policy excludes losses caused by wear and tear, marring,

or deterioration.

        7.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(d)(3) of the

“Perils Insured Against” section of the policy excludes losses caused by smog-rust, mold, or wet

or dry rot.

        8.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(d)(6) of the

“Perils Insured Against” section the applicable policy excludes losses caused by settling, cracking,

shrinking, bulging or expansion of pavements, patios, foundations, walls, floors, roofs, or ceilings.

        9.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(d)(7) of the

“Perils Insured Against” section of the policy excludes losses caused by birds, vermin, rodents,

insects, or domestic animals.

        10.    Plaintiff’s claims are barred, in whole or in part because paragraph 3(c) of the

“Perils Insured Against” section the policy excludes losses caused, directly or indirectly

(regardless of any other cause or event contributing concurrently or in any sequence to the loss)




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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 30 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                      Hidalgo County District Clerks
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by water damage, meaning: (a) flood, surface water, tidal water, overflow of a body of water, or

spray from any of these, whether or not driven by wind; (b) water which backs up through sewers

or drains, including water emanating from a sump, pump, sump pump well or similar device

designed to prevent overflow, seepage or leakage of subsurface water; or (c) water below the

surface of the ground, including water which exerts pressure on or seeps or leaks through a

building, sidewalk, driveway, foundation, swimming pool or other structure.

       11.     Plaintiff’s claims are barred, in whole or in part, because paragraph 2(c) of the

“Coverages” section of the policy excludes any coverage for fences, retaining walls not

constituting a part of buildings, walks, roadways and other paved surfaces.

       12.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff lacked standing

to assert the claims presented in the First Amended Petition.

       13.     Defendant reserve their right to arbitrate this matter pursuant to a valid and

controlling arbitration clause.

       14.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of accord and

satisfaction, ratification, consent, settlement, payment, release, acquiescence, unclean hands,

and/or in pari delicto.

       15.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff has failed to state

a claim or cause of action for punitive damages.

       16.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver and/or

estoppel.

       17.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff has no privity of

contract with Defendant.

       18.     Plaintiff’s claims are barred, in whole or in part, by statutes of limitations and/or




                                                   3
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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 31 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                       Hidalgo County District Clerks
                                                                                       Reviewed By: Juan Cavazos


the doctrine of laches.

        19.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of contributory

and/or comparative negligence.

        20.     Plaintiff’s claims are barred, in whole or in part, by the economic loss doctrine.

        21.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to mitigate

his damages.

        22.     Plaintiff’s claims are barred, in whole or in part, because Defendant never sold the

Policy to the Plaintiff.

        23.     Plaintiff’s claims are barred, in whole or in part, because the damage sustained by

Plaintiff is not covered under the Policy procured by Plaintiff’s home mortgage lender.

        24.     Plaintiff’s claims are barred, in whole or in part, because any damages suffered by

Plaintiff were caused by the acts and omissions of a party or parties over whom Defendant did not

exercise control or right of control.

        25.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff has failed to state

a claim upon which relief can be granted. Plaintiff has failed to describe how a denial of the claim

converts, what is in fact, a mere contractual claim into extra-contractual tort claims and causes of

action under the Texas Insurance Code and DTPA.

        26.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff is not a consumer

as required by the DTPA.

        27.     Plaintiff’s claims are barred, in whole or in part, by the specific terms of the Policy

contract.

        28.     Plaintiff’s claims and allegations of “bad faith” are barred, in whole or in part,

because Defendant’ liability to Plaintiff was not reasonably clear. A bona fide controversy existed




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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 32 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                  Hidalgo County District Clerks
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and continues to exist concerning Plaintiff’s entitlement to insurance proceeds from Defendant,

and Defendant’ liability, if any, has never become reasonably clear. Accordingly, Defendant had

a reasonable basis for denying Plaintiff’s claim.

       29.     Defendant aver that any award of punitive damages to Plaintiff in this case would

be in violation of the constitutional rights and safeguards provided to them under the Constitution

of the State of Texas and the Constitution of the United States of America including, without

limitation, that there are no constraining limitations placed on a jury’s discretion in considering

the imposition or amount of punitive damages, there are no meaningful trial court and appellate

review mechanisms to constitutionally confirm any punitive damage award, and imposition of a

punitive damage award would allow a verdict tainted by passion and prejudice.

       30.     Imposition of punitive damages in this case would constitute a violation of

Defendant’ constitutional rights under the Fourth, Fifth, Sixth, Eighth, and Fourteenth

Amendments to the United States Constitution.

       31.     Imposition of punitive damages in this case would constitute a violation of due

process and/or would be a violation of the statutory law of this state providing for a penalty.

Plaintiff is not entitled to an award of punitive damages absent strict compliance with Chapter 41

of the Texas Civil Practice and Remedies Code.

       32.     Any award of punitive damages in this case would violate the constitutional rights

and safeguards provided to Defendant under the Due Process Clause of the Fourteenth Amendment

and/or Fifth Amendment to the Constitution of the United States of America and/or under the Due

Course Clause of Article I, Sections 13 and 19 of the Constitution of the State of Texas, in that

punitive damages and any method of which they might be assessed are unconstitutionally vague

and not rationally related to a legitimate government interest.




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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 33 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Juan Cavazos


       33.     Any award of punitive damages in this case would violate the procedural and/or

substantive safeguards provided to Defendant under the Fifth, Sixth, Eighth, and/or Fourteenth

Amendments to the Constitution of the United States and/or under Article I, Sections 13 and 19 of

the Constitution of the State of Texas, in that punitive damages are penal in nature and,

consequently, Defendant are entitled to the same procedural and substantive safeguards afforded

to criminal Defendant.

       34.     Defendant aver that it would violate the Self-Incrimination Clause of the Fifth

Amendment to the Constitution of the United States of America and/or Article I, Section 10 of the

Constitution of the State of Texas, to impose punitive damages against them, which are penal in

nature, yet would compel them to disclose potentially incriminating documents and evidence.

       35.     It is a violation of the rights and safeguards guaranteed by the Constitution of the

United States of America and/or the Constitution of the State of Texas to impose punitive damages

against Defendant which are penal in nature by requiring a burden of proof on Plaintiff which is

less than the “beyond a reasonable doubt” burden of proof required in criminal cases.

       36.     Defendant aver that any award of punitive damages to Plaintiff in this case will

violate the Eighth Amendment to the Constitution of the United States and/or Article I, Section 13

of the Constitution of the State of Texas, in that said punitive damages would be an imposition of

an excessive fine.

       37.     It would be unconstitutional to award any punitive damages as such would violate

the Fifth and Fourteenth Amendments to the United States Constitution and Article I, Sections 13

and 19 of the Constitution of the State of Texas in that:


               a.      Said damages are intended to punish and deter Defendant, and thus this
                       proceeding is essentially criminal in nature;

               b.      Defendant are being compelled to be a witness against themselves in a


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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 34 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Juan Cavazos


                       proceeding essentially and effectively criminal in nature, in violation of its
                       rights to due process;

               c.      The Plaintiff’s burden of proof to establish punitive damages in this
                       proceeding, effectively criminal in nature, is less than the burden of proof
                       required in other criminal proceedings, and thus violates Defendant’ rights
                       to due process;

               d.      That inasmuch as this proceeding is essentially and effectively criminal in
                       nature, Defendant are being denied the requirement of notice of the
                       elements of the offense and the law and the authorities authorizing punitive
                       damages are sufficiently vague and ambiguous so as to be in violation of
                       the Due Process Clause of the Fifth Amendment and/or the Fourteenth
                       Amendment of the United States Constitution and also in violation of
                       Article I, Sections 13 and 19 of the Constitution of the State of Texas.

       38.     Plaintiff has sustained no injury from the alleged conduct of Defendant.

       39.     Plaintiff’s claims are barred, in whole or in part, because Defendant’ claim-

handling practices and all related activities conformed in every respect to accepted industry

standards and practices.

       40.     Plaintiff’s claims are barred, in whole or in part, because Defendant would show

that there is an inherent mutual duty of good faith in the agreements related to this action and that

Plaintiff may have failed to act in good faith.

       41.     There has been no reasonable showing by evidence in the record or proffered by

Plaintiff which would provide a reasonable basis for recovery of punitive damages as required by

Section 41.003 of the Texas Civil Practice & Remedies Code, therefore, that claim should not be

allowed to proceed and should be dismissed and in all respects subject to the limitations set forth

in Chapter 41 of the Texas Civil Practice & Remedies Code.

       42.     Plaintiff is not entitled to the recovery of attorneys’ fees and has failed to provide

the statutory notices required to show entitlement to the same.

       43.     Plaintiff’s claims for attorney’s fees are barred in whole or in part because Plaintiff

made an unreasonably excessive demand upon Defendant.


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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 35 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                    Hidalgo County District Clerks
                                                                                    Reviewed By: Juan Cavazos


       44.     Plaintiff’s claims for attorney’s fees are barred in whole or in part because Plaintiff

made an excessive demand upon Defendant in bad faith.

       45.     Defendant expressly reserve and preserve any and all rights they may have under

the Policy or otherwise including, but not limited to, any right they may have to seek appraisal of

the claims at issue.

                                         IV.
                               REQUESTS FOR DISCLOSURE

       46.     Pursuant to Rule 194, Plaintiff is requested to disclose, within 30 days of service of

this request, the information or material described in Rule 194.2(a)-(i).

                                                  Respectfully submitted,

                                                  EDISON, MCDOWELL & HETHERINGTON LLP

                                                  By: /s/ Bradley J. Aiken
                                                     Bradley J. Aiken
                                                     State Bar No. 24059361
                                                     Pooneh A. Momeni
                                                     State Bar No. 24098123

                                                  1001 Fannin Street, Suite 2700
                                                  Telephone: 713-337-5580
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                                                  ATTORNEYS FOR DEFENDANT




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    Case 7:17-cv-00158 Document 1-2 Filed in TXSD on 04/28/17 Page 36 of 9:10:48
                                                                4/24/2017 36 AM
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Juan Cavazos


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on April 24,
2017, on the following counsel of record by eServe and/or certified mail, return receipt requested:

 Larry Lawrence                                     Dan Cartwright
 Michael Lawrence                                   Lory Sopchak
 Lawrence Law Firm                                  Cartwright Law Firm, LLP
 3112 Windsor Rd., Suite A234                       1300 Post Oak Blvd., Suite 760
 Austin, Texas 78703                                Houston, Texas 77056


                                                 /s/ Pooneh A. Momeni
                                                 Pooneh A. Momeni




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